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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                          Case No.: 10-61488-Civ-Huck/O'Sullivan

  JAMES K. FIANO,

         Plaintiff,
  v.

  PENNCRO ASSOCIATES, INC.,

        Defendant.
  _________________________________________/

       PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS

         Plaintiff, James K. Fiano, files his Response to Defendant’s Motion to Dismiss

  and moves this Court to deny Defendant’s, Penncro Associates, Inc., Motion to Dismiss

  (DE 11) as moot, and, in support thereof, states as follows:

         Plaintiff accepted Defendant’s settlement offer, and the parties shall file an

  appropriate dismissal within 10 days. Plaintiff respectfully suggests the Court deny

  Defendant’s Motion to Dismiss as moot.



                                             Respectfully submitted,

                                             DONALD A. YARBROUGH, ESQ.
                                             Attorney for Plaintiff
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                                             Fort Lauderdale, Florida 33339
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                                             s/Donald A. Yarbrough
                                             Donald A. Yarbrough, Esq.
                                             Florida Bar No. 0158658


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Case 0:10-cv-61488-PCH Document 14 Entered on FLSD Docket 01/13/2011 Page 2 of 2




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  _________________________________________/


                             CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on January 13, 2011 I electronically filed the
  foregoing document with the Clerk of Court using CM/ECF. I also certify that the
  foregoing document is being served this day on all counsel of record or pro se parties
  identified on the attached Service List in the manner specified, either via transmission of
  Notices of Electronic Filing generated by CM/ECF or in some other authorized manner
  for those counsel or parties who are not authorized to receive electronically Notices of
  Electronic Filing.

                                                   s/Donald A. Yarbrough
                                                   Donald A. Yarbrough, Esq.


                                      SERVICE LIST

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